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Attorney for Plaintiff J.M.M. by and through his
Guardian Ad Litem ORLANDA CRUZ

 

  

 

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CENTRAL DISTRICT OF CALIFORNIA
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J.MEM., Sy and through his Guardian Ad ¢. Oes
+ Litem, ORLANDA CRUZ, USE 6 5 2 9 JAE FR,
COMPLAINT FOR DAMAGES:
Plaintiff, 1. Civil Rights Violations Under 42 U.S.C.
VS. 2. Municipal Liability for Civil Rights
3 Violations f Civil Rights for Fail
. Violations of Civ ts for Failure to
COUNTY OF LOS ANGELES, JERRY Train and Supervise (42 U.S.C. §1983)
POWERS; OFFICER MARTINEZ; OFFICER | 4. Negligence/Statutory Liability |
WALKER, LEAH RUBKE, and DOES 1 to | 5. Negligent Training and Supervision
6. Dangerous Condition on Public Property
10, 7. Violation of State Civil Rights
) Defendants.
DEMAND FOR JURY TRIAL

 

 

 

 

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COMES NOW, PLAINTIFF J.M.M., a minor, by and through his Guardian ad Litem

ORLANDA CRUZ, and alleges as follows:
JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over plaintiff's federal claims under 42
U.S.C. §1983 pursuant to 28 U.S.C. §§1331 and 1343. Plaintiff further invokes the pendent
jurisdiction of this Court to consider claims arising under state law.

2. Venue is proper because these acts took place in this District. Plaintiff filed his
Notice of Government Claim with the County of Los Angeles on January 23, 2014.

GENERAL ALLEGATIONS

3. Plaintiff J.M.M., by his Guardian Ad Litem, Orlanda Cruz, are individuals
who at all times mentioned herein resided in the County of Los Angeles, State of California.

4. At all times herein mentioned, defendants and each of them, were and now are
believed to be residents of the County of Los Angeles, State of California.

5. At all times herein mentioned, defendants, County of Los Angeles (hereinafter

“COUNTY”) is and was at all relevant times mentioned herein, a municipality duly organized

and existing under the laws of the State of California. The Los Angeles County Probation
Department (hereinafter “LACPD”) is an official subdivision of defendant COUNTY, and all
staff members employed by said department are employees of defendant COUNTY.

6. Defendant COUNTY was at all times mentioned herein, engaged in owning,
operating, maintaining, and managing Sylmar Juvenile Hall facility (Barry J. Nidorf), located

in the County of Los Angeles, State of California. All of the acts complained of herein by

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COMPLAINT FOR DAMAGES

 

 
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plaintiff against defendants were done and performed by said defendants by and through their
authorized agents, servants and/or employees, and each of them, all of whom at all relevant
times herein were acting within the course, purpose and scope of said agency, service and/or
employment capacity. Moreover, defendants and their agents ratified all of the acts
complained of herein.

7. Defendants JERRY POWERS, DOES | to 3, were at all relevant times herein
administrators, policymakers, and supervisors of the “LACPD”, Sylmar Juvenile Hall facility
possessed the power and authority and were charged by law with the responsibility to enact
policies and to prescribe rules and practices concerning the operation of the juvenile detention
facilities and concerning the means by which the life and safety of minors were to be secured,
what criteria was to be used for housing juveniles, including consideration of segregation by
security level and maintaining safeguards to prevent physical access to said minors from others
who posed a direct risk of harm to them.

8. COUNTY, POWERS, and DOES 1 to 3 failed to provide adequate security,
supervision, staffing and training to protect J.M.M. from harm, even though they were aware
of and had been warned about the dangers associated with his incarceration at this facility.

9. At all times relevant herein, defendants MARTINEZ, WALKER, LEAH
RUBKE (hereafter “RUBKE”), and DOES 4 through 10, were Sylmar Juvenile Hall staff
members, who were at the time of committing the acts alleged hereinafter, duly authorized
employees of defendant COUNTY, who were acting within the course and scope of their

respective duties and with the complete authority and ratification of defendant COUNTY. At

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COMPLAINT FOR DAMAGES

 
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all relevant times herein, said defendants, and each of them, were acting under color of law, to
wit: under the color of the statutes, ordinances, regulations, policies, customs and usages of
defendant COUNTY and the State of California. Defendants MARTINEZ, WALKER,
RUBKE, and DOES 4 through 10 were actively engaged in employment by the COUNTY and
assigned to work at Sylmar Juvenile Hall Facility. These defendants were empowered to
respond to threats to the life and safety of plaintiff JM.M., to make decisions regarding his
housing, and whether or not to transfer J.M.M. and keep him away from the perpetrators
whose names are unknown at this time, but are known to Defendants.

10. All times mentioned hereto, defendant COUNTY was and is a Municipal
corporation duly organized and existing under the laws of the State of California. Defendant
COUNTY is sued in its own right under 42 U.S.C. §1983 because its policies, customs and
practices caused the constitutional violations claimed by plaintiff herein.

11. Plaintiff is informed and believes, and thereupon alleges that, at all times relevant
herein, defendants POWERS, MARTINEZ, WALKER, RUBKE, and DOES 1 to 10 were
residents of the County of Los Angeles, State of California, and were employee agents, policy
makers and representatives of the LACPD, as well as employees, agents and representatives of
defendant COUNTY. At all times relevant hereto, said defendants were acting within the
course and scope of their employment as civilian employees, policy makers and
representatives of the LACPD, a department and subdivision of defendant COUNTY, and the

wrongful acts hereinafter described flow from the very exercise of their authority.

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12. At all times herein mentioned all defendants, named and unnamed, were and are
duly appointed agents, and /or employees of defendants COUNTY.

13. At all times herein, each and every defendant was the agent of each and every
other defendant and had the legal duty to oversee and supervise the hiring, conduct and
employment of each and every defendant named and unnamed in this complaint.

14, The true names and capacities, whether individual, corporate, association or
otherwise of defendants DOES 1 through 10, inclusive, are unknown to plaintiff | who
otherwise sues these defendants by such fictitious names. Each defendant is sued individually
and in his/her official capacity as defined in the present complaint. Plaintiff will seek leave to
amend this complaint to show the true names and capacity of these defendants when they have
been ascertained. Each of the fictitiously named defendants is responsible in some manner for
the conduct or liabilities alleged herein.

15. Plaintiff J.M.M., a 16 year-old minor, was a juvenile who was charged with a sex
related offense. Prior to the beating which is the subject of this complaint, Plaintiff had been
threatened with violence. Despite knowledge of the threats on Plaintiff, Defendants failed to
protect him against violence.

16. As a result of the beating, plaintiff J.M.M. has sustained severe traumatic brain
injury and nearly died. He remains severely impaired from the date of the incident to the
present date. Plaintiff J.M.M. is unable to speak or walk, or perform daily activities of life.

Until recently, Plaintiff was fed through a feeding tube and was unable to breathe on his own.

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Plaintiff has no control of his bodily functions must be kept in diapers and needs around the
clock attendant care.

17. Through a series of acts and omissions evidencing intentional or grossly negligent
disregard to LACPD’s own policies and procedures which required supervision of Plaintiff
J.M.M., and/or prohibited the disclosure of his criminal offense to other juvenile inmates,
Defendants acted with deliberate indifference to the safety of J.M.M. by failing to protect him
from harm and/or by disclosing the nature of his charges to other juveniles.

18. In doing the acts and failing and/or omitting to act as hereinafter described,
Defendants and each of them, were acting on the implied and/or with the actual permission
and consent of the defendant COUNTY.

19. The Plaintiff complied with the claims statute, Government Code Section 810 by
filing a claim with the County of Los Angeles on January 23, 2014. Said claim was denied by
the County of Los Angeles on February 19, 2014.

FACTUAL ALLEGATIONS

20. On or about July 23, 2013, plaintiff J.M.M., was in the custody of Sylmar Juvenile
Hall facility located in Sylmar, California.

21. On or about July 23, 2013, plaintiff J.M.M. was severely beaten by one or more
juveniles who learned that J.M.M. was in custody for a sex offense allegedly involving a
minor. Based on information and belief, the disclosure of J.M.M.’s criminal offense was made

by MARTINEZ, WALKER, and DOES 4 to 6, who knew or should have known of the

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foreseeable risk of harm that would result to J.M.M. at the hands of other juvenile inmates
once the disclosure of the nature of the criminal offense was made.

22. Approximately two weeks prior to the July 23, 2013 incident, MARTINEZ struck
J.M.M. in the chest, back and stomach area and singled him out because of the nature of the
criminal offense for which he was incarcerated. MARTINEZ, WALKER, and DOES 4 to 6,
taunted J.M.M. and threatened to disclose his criminal charge to other juvenile inmates so that
he could be beaten by them. Thereafter, J.M.M. was receiving threats of violence by the
inmates.

23. On information and belief, Plaintiff J.M.M. reported the threats to Defendant
LEAH RUBKE, a staff member in the COUNTY’s mental health department.

24. Defendants MARTINEZ, WALKER, RUBKE, and DOES 4 to 10 had a duty to
protect plaintiff J.M.M. from the harm that resulted from the disclosure of his criminal offense
to other juvenile inmates. However, these Defendants’ took no action to protect him after the
disclosure occurred.

25. Defendants were aware of the danger posed by the disclosure of J.M.M.’s criminal
offense and as such, had a duty to protect the plaintiff from the attack, and/or by providing
adequate monitoring, checking and supervision of J.M.M. to prevent the attack.

FIRST CLAIM FOR RELIEF
VIOLATION OF CIVIL RIGHTS (42 U.S.C. §1983)
(Against Defendants Martinez, Walker, and Rubke and DOES 4 to 10)

26. Plaintiff realleges and incorporates by reference, as though fully set forth herein,

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each and every allegation set forth in paragraphs 1 through 25.

27. This cause of action is brought pursuant to 42 U.S.C. Section 1983 and the Eighth
and Fourteenth Amendments of the United States Constitution. Plaintiff was deprived of his
liberty interests and due process rights, and his right to be free from cruel and unusual
punishment because it is the duty of the detaining facility or an incarcerating entity to take
reasonable measures to guarantee the safety of a detainee and/or prisoner. In this regard,
severe injury suffered by Plaintiff was cruel and unusual punishment and a deprivation of his
liberty interests.

28. On or before July 23, 2013, Plaintiff believes and thereon alleges that there was in
existence at the LACPD, Sylmar Juvenile Camp, and at Central Juvenile Detention Facility an
administrative manual, a written compilation of policies and procedures, and orally conveyed
department policies regarding the issues of supervision and protection of vulnerable juveniles
from other dangerous inmates. These policies and procedures also dictated what procedures
were to be observed to ensure a minor’s safety, what manner of evaluation should be
employed to assess the seriousness of threats or risks of harm to a minor, and what precautions
were to be taken to protect the life and safety of such minors from physical violence by other
minors.

29. On or before July 23, 2013, Plaintiff J.M.M. should have been segregated and/or

protected him from other inmates based on threats made against Plaintiff which Plaintiff

disclosed to Defendants MARTINEZ, WALKER, RUBKE, and DOES 4 to 6.

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30. On or about July 23, 2013, defendants MARTINEZ, WALKER, RUBKE, and
DOES 4 through 10, acting in conscious and reckless disregard for plaintiff's rights and safety,
and in complete derogation of their responsibilities, did under color of law, knowingly and/or
intentionally engage in the following acts and omissions:

1. Failing to keep plaintiff J.M.M, away from other juveniles despite the fact
that J.M.M., had complained of the threats made against him;

2. Permitting dangerous inmates to have physical access to Plaintiff even after
learning about the threats and violence made against Plaintiff;

3. Failing to monitor and supervise plaintiff J.M.M. as required by LACPD’s
own policies and by law;

4. Failing to provide sufficient staff at the unit where Plaintiff was housed,

5. Failing to provide necessary and appropriate security measures, and

6. Failing to provide appropriate personnel necessary for the safety, welfare and
protection of the Plaintiff.

31. In this manner, defendants, MARTINEZ, WALKER, RUBKE, including DOES 1
through 10, under color of law, failed to protect Plaintiff's life and safety, to which Plaintiff
had a constitutional right, and thereby caused plaintiff to be exposed to physical danger
resulting in severe injuries to Plaintiff.

32. On information and belief, defendants, MARTINEZ, WALKER, RUBKE, and
DOES 4 to 10 acted as they did in part because they knew or were otherwise aware that they

would not be disciplined or punished for their conduct and that their conduct would otherwise

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be ratified and condoned by their superiors, including defendants COUNTY, JERRY
POWERS, and DOES | to 3.

33. As a proximate result of the aforementioned acts and omissions of defendants, and
each of them, Plaintiff suffered severe physical and emotional harm that will detrimentally
affect him for the rest of his life.

34. As a proximate result of the aforementioned acts and omissions of Defendants, and
each of them, Plaintiff sustained great mental pain, suffering, fear, anxiety, anguish, and
emotional distress.

35. By reason of the aforementioned acts and omissions by Defendants, and each of
them, Plaintiff has incurred and will continue to incur special damages, loss of earning
capacity, and incidental expenses in an amount to be proven at trial.

36. The aforementioned acts of said individual Defendants, and each of them, were
willful, wanton, malicious and oppressive thereby justifying the awarding of exemplary and
punitive damages as to said individual Defendants.

37. By reason of the aforementioned acts of Defendants, and each of them, Plaintiff
was required to and did retain counsel to institute and prosecute the present action, and to
render legal assistance to Plaintiff so that his damages and impairment of his Constitutional
rights might be vindicated; and by reason thereof, plaintiff requests payment by defendants of
a reasonable sum for attorney’s fees pursuant to 42 U.S.C. §1988.

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COMPLAINT FOR DAMAGES

 

 

 
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SECOND CLAIM FOR RELIEF
MUNCIPAL LIABILITY FOR VIOLATION OF CIVIL RIGHTS
(Against Defendant COUNTY)

38. Plaintiff realleges and incorporates by reference, as though fully set forth herein,
each and every allegation set forth in paragraphs 1 through 37.

39. Defendant COUNTY, through its administrators and decision makers, knowingly,
recklessly, and with reckless disregard for the safety and well-being of juvenile inmates,
including Plaintiff J.M.M., promulgated, created, maintained and enforced a series of policies,
procedures, customs and practices which either facilitated inmate on inmate violence.

40. These policies, procedures, customs, and practices of the COUNTY were the
moving forces behind the de facto custom and practice of permitting and condoning individual
staff members, including Defendants WALKER, MARTINEZ, RUBKE, and DOES 4 through
10, of disregarding the safety of minors similarly situated as Plaintiff who require protection
from violence by other minors known to pose a threat of physical harm.

41. Defendant COUNTY had long been aware of problems at its juvenile facilities
which created concern for the constitutional rights and safety of juvenile wards. The
conditions at Sylmar and other Juvenile Detention Centers in Los Angeles County led to the
U.S. Department of Justice investigating those conditions and entering into an agreement with
the COUNTY on August 24, 2004 as to how the concerns would be resolved. In spite of the

investigation and agreement, the poor conditions for wards and violations of their rights

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COMPLAINT FOR DAMAGES

 

 

 
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persisted at Sylmar and other County Facilities, leading to the tragic injuries suffered by
Plaintiff.

42. In addition to the Department of Justice investigation, Defendant COUNTY was
placed on notice of the poor conditions and lack of supervision leading to inmate on inmate
violence at its Juvenile Facilities by prior claims and/or lawsuits including Nathaniel Marshall
vy. Los Angeles County, et. al., Case No. BC430969.

43. Defendant COUNTY acting through its administrators, management,
supervisors, employees, and/or agents on staff at Sylmar Juvenile Hall violated their duty to
provide reasonable protection from harm to Plaintiff, and created dangerous conditions which
injured Plaintiff by, including but not limited to, each of the following: (1) exceeding the
appropriate staff-to-inmate ratio; (2) failing to maintain video surveillance; (3) inadequate
training the staff in controlling violence; (4) inadequate training the staff in behavior
management and violence reduction techniques; and (5) inadequate training staff in
recognition and response to gang violence.

44. The custom, policy, practice and procedures described herein were a legal cause of
Plaintiffs injuries and each Defendant, acting in accord with this custom, practice, policy and
procedure acted with deliberate indifference to the rights of the plaintiff, acted recklessly and
intentionally, under color of law, by showing conscious disregard for the life and safety of
Plaintiff J.M.M., violated his constitutional rights, and proximately caused the damages set

forth in the incorporated paragraphs, all in violation of 42 U.S.C. §1983.

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45. By reason of the aforementioned acts and omissions of Defendant COUNTY,
Plaintiff J.M.M. has been caused to incur medical expenses, loss of future earning capacity,
and other damages in an amount to be proven at the time of trial.

46. By reason of the aforementioned acts of Defendant COUNTY, Plaintiff was
required to and did retain counsel to institute and prosecute the present action, and to render
legal assistance to Plaintiff so that his damages and impairment of his Constitutional rights
might be vindicated; and by reason thereof, Plaintiff requests payment by defendants of a
reasonable sum for attorney’s fees pursuant to 42 U.S.C. §1988.

THIRD CLAIM FOR RELIEF
VIOLATIONS OF CIVIL RIGHTS UNDER 42 U.S.C. §1983 FOR
FAILURE TO TRAIN AND SUPERVISE
(Against Defendants COUNTY, JERRY POWERS and DOES 1-3)
47. Plaintiff realleges and incorporates by reference, as though fully set forth
herein, each and every allegation set forth in paragraphs 1 through 46.
48. This cause of action is brought pursuant to 42 U.S.C. Section 1983 and Eighth
and Fourteenth Amendments of the United States Constitution.
49. At all relevant times, Defendants COUNTY, JERRY POWERS, and DOES 1 to
3, knew or should have known of the acts of its employees as complained of herein occurring
at their detention facilities, including Sylmar Juvenile Hall. As a means, method, practice,
policy or custom of arbitrarily housing juveniles in disregard for their safety and well being,

Defendants COUNTY, JERRY POWERS, and DOES 1 to 3, consciously disregarded their

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COMPLAINT FOR DAMAGES

 

 

 
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duties, failed to adequately investigate, discover, discipline and/or correct such actions or
practices, thereby causing violation of Plaintiff's Constitutional rights as hereinabove set forth
and his injuries.

50. Prior to the incidents alleged herein, Defendants COUNTY, POWERS, and
DOES 1 to 3, in the course and scope of their employment with defendant COUNTY and
LACPD, facilitated, permitted, ratified and condoned similar acts of assaults, neglect, and
cruelty, and were deliberately indifferent to the safety of minors like plaintiff J.M.M.
Defendants COUNTY, JERRY POWERS, and DOES 1 to 3, knew or in the exercise of
reasonable care should have known of this practice, pattern, or policy of institutional
violations, and additionally, of the existence of facts and situations which created the potential
for unconstitutional acts. Said Defendants had a duty to instruct, train, supervise and
discipline their subordinates to prevent similar acts to persons, such as Plaintiff, but failed to
take action to properly train, instruct, supervise, or discipline staff members other employees
assigned to its juvenile hall facilities. As a result thereof, Plaintiff was harmed, injured and
damaged in the manner alleged herein.

51. At all times mentioned herein and prior thereto, Defendants COUNTY, JERRY
POWERS, and DOES 1 to 3, had the duty to train, instruct, supervise and discipline staff
members to ensure that they respected and did not violate federal constitutional and statutory
rights of minors in custody in their juvenile hall facilities, and to objectively investigate
violations of said rights such as the following:

a. the right to be free of infliction of injury and from assault;

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b. the right to be safe and protected from injury while in defendants’ custody;
c. the right to be protected by the staff members while under their control;

52. Defendants COUNTY, JERRY POWERS, and DOES 1 to 3 breached their duties
by failing to train, instruct, supervise, or discipline their staff members, including
MARTINEZ, WALKER, RUBKE, DOES 4 to 10, on the violation of plaintiff's and other
minors’ constitutional rights as alleged herein.

53. The conduct of said defendants has been ratified, authorized or otherwise condoned
by each of them in their official and individual capacities.

54. By reason of the aforementioned acts and omissions of defendants, and each of
them, Plaintiff has been caused to incur medical expenses and future loss of earning capacity
in an amount to be proven at the time of trial.

55. By reason of the aforementioned acts of Defendants, and each of them, Plaintiff
was required to and did retain counsel to institute and prosecute the present action, and to
render legal assistance to Plaintiff so that his damages and impairment of his Constitutional
rights might be vindicated; and by reason thereof, Plaintiff requests payment by Defendants of
a reasonable sum for attorney’s fees pursuant to 42 U.S.C. §1988.

56. The aforementioned acts of said individual Defendants, and each of them, was
willful, wanton, malicious and oppressive thereby justifying the awarding of exemplary and
punitive damages as to said individual Defendants, but not as to Defendant COUNTY.

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COMPLAINT FOR DAMAGES

 

 
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FOURTH CLAIM FOR RELIEF
(For Negligence/Statutory Liability Against Defendants COUNTY, MARTINEZ,
WALKER, RUBKE, and DOES 1 to 10)

 

57. Plaintiff J.M.M., alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 56 of this Complaint as though fully set forth herein.

58. Plaintiff, at all material times, was in a “special relationship” with Defendant
COUNTY, MARTINEZ, WALKER, RUBKE and DOES 1 to 10, while he was a ward of the
COUNTY, and in the custody of the COUNTY and its agents and employees. The special
relationship obligated these Defendants to protect Plaintiff from danger, because, as juvenile
ward, he was unable to protect himself. Moreover, these Defendants had notice of the actual
danger to Plaintiff from other juvenile wards who had been threatening him.

59. Defendants COUNTY, acting through MARTINEZ, WALKER, RUBKE and
DOES 1 to 10, had an on-going relationship with the minor Plaintiff, and had a duty to
exercise reasonable care in investigating J.M.M.’s complaints, and had a duty to protect and
warn Plaintiff of the dangerous qualities of his attackers. Defendant COUNTY is subject to
liability pursuant to Cal. Gov’t Code § 815.2(a), which provides that “[a] public entity is liable
for injury proximately caused by an act or omission of an employee of the public entity within
the scope of his employment if the act or omission would, apart from this section, have given
rise to a cause of action against that employee or his personal representative.” Defendant
COUNTY ’S employees responsible for the acts or omissions are MARTINEZ, WALKER,

RUBKE, and DOES 1 to 10.

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60. Moreover, Defendant’s COUNTY, acting through MARTINEZ, WALKER,
RUBKE, and DOES 1 to 10, and each of them, were under statutory duty to protect minors,
and a duty to summon medical care pursuant to Government Code Section 845.6 when they
knew or should have known of an assault on a minor such as J.M.M.

61. Plaintiff is informed and believes and thereon alleges that Defendants
MARTINEZ, WALKER, RUBKE, and DOES 1 to 10 violated duties imposed by Penal Code
Section 11166 et. seq. (Child Abuse and Neglect Reporting Act).

62. Penal Code Section 11166(a) mandates reporting of child abuse or neglect when
he/she has “knowledge of or observes a child whom the mandated reporter knows or
reasonably suspects has been the victim of child abuse or neglect”.

63. Penal Code Section 11166(f) states as follows: “Any mandated reporter who
knows or reasonably suspects that the home or institution in which a child resides is unsuitable
for the child because of abuse or neglect of the child shall bring the condition to the attention
of the agency to which, and at the same as, he or she makes a report of the abuse or neglect
pursuant to subdivision (a).”

64. Penal Code Section 11166(j) states in pertinent part: “A county probation or
welfare department shall immediately, or as soon as practicably possible, report by telephone,
fax, or electronic transmission to the law enforcement agency having jurisdiction over the case
to the agency given the responsibility for investigation of cases under Section 300 of the
Welfare and Institutions Code, and to the district attorney’s office every known or suspected

instance of child abuse or neglect, as defined in Section 11165.6...”.

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COMPLAINT FOR DAMAGES

 
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65. Defendants MARTINEZ,WALKER, RUBKE, and DOES 1 to 10 were provided
information regarding the threats and physical abuse inflicted on Plaintiff J.M.M., Defendants
COUNTY, acting through it agents, failed to comply with Penal Code Section 11166 et. seq.,
and did not report the abuse. Instead, they permitted the abuse to go unabated.

66. Moreover, there were obvious signs of abuse, including bruising on Plaintiff
J.M.M. who was physically abused by MARTINEZ. Defendant’s agents, including
WALKER, RUBKE, and DOES 4 to 10 were in a position to observe these obvious signs of
abuse and they also failed to comply with the mandated reporting requirements of Penal Code
Section 11166 et. seq.

67. Plaintiff is informed and believes and thereon alleges that as a direct and
proximate result of Defendants’ violations of the statutory duties set forth above, and
Defendants’ failure to warn of the dangerous qualities of the perpetrators housed at Sylmar
Juvenile Hall, plaintiff was caused to be savagely attacked. Plaintiff suffered severe traumatic
brain injury, paralysis, and other serious permanent and lifelong injuries.

68. Defendants, and each of them, violated their duties in failing to properly
supervise the perpetrators who posed a risk to the Plaintiff and who had threatened Plaintiff
with violence. Despite this knowledge, Defendants permitted the perpetrators to have access
to Plaintiff and facilitated the attack on Plaintiff.

69.  Plaintiffis informed and believes and thereon alleges that at all times mentioned
herein, Defendants MARTINEZ, WALKER, RUBKE and DOES 4 to 10 were unfit and

unqualified to supervise and oversee the juveniles detained in the detention facilities, and were

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unqualified to care for the Plaintiff and others who were also abused at said juvenile detention
centers. Said Defendants, and each of them, violated mandatory statutory duties in failing to
properly supervise the perpetrators who posed a risk to the Plaintiff and other vulnerable
minors housed at said juvenile detention facilities.

70. Plaintiff is informed and believes and thereon alleges that Defendants DOES 1 to
3, failed to perform a thorough and complete investigation of the abuse suffered by the
Plaintiff and others minors housed at Sylmar Juvenile Hall. These Defendants also failed to
perform a thorough and complete investigation of the background of Defendants MARTINEZ,
WALKER, RUBKE, and DOES 4 to 10 who were unqualified to supervise and monitor the
minors at the COUNTY juvenile detention facilities. Furthermore, these Defendants failed to
protect Plaintiff J.M.M., from harm and failed to ensure his safety, and failed to properly and
adequately supervise and/or monitor the care that was being provided to Plaintiff and other

minors despite knowledge of prior abuse at Sylmar Juvenile Hall.

71. Asadirect and proximate result of said acts or omissions, Plaintiff sustained
special and general damages in an amount to be proven at the time of trial.

FIFTH CLAIM FOR RELIEF
(Negligent Training and Supervision Against Defendants COUNTY, POWERS
and DOES 1 to 10)
72. Plaintiffs repeat and reallege each and every allegation in paragraphs 1

through 71 of this Complaint with the same force and effect as if fully set forth herein.

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73. COUNTY’s employees, including MARTINEZ, WALKER and RUBKE,
were unfit and incompetent to perform the work for which they were hired.

74. POWERS and DOES | to 10 knew or should have known that COUNTY’s
employees, including MARTINEZ, WALKER and RUBKE, were unfit and
incompetent and that this unfitness or incompetence created a particular risk to others.
The negligence of POWERS and DOES 1 to 10 in training, supervising, and retaining,
COUNTY’s employees, including MARTINEZ, WALKER and RUBKE, was a
substantial factor in causing the harm of J.M.M.

75. COUNTY is vicariously liable for the wrongful acts of its employees,
including POWERS, pursuant to section 815.2 of the California Government Code,
which provides that a public entity is liable for the injuries caused by its employees
within the scope of the employment if the employee’s act would subject him or her to
liability.

76. The conduct of COUNTY employees, including POWERS and DOES 1| to
10, was malicious, wanton, oppressive, and accomplished with a conscious disregard
for the rights of J.M.M. entitling him to an award of exemplary and punitive damages.
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1 SIXTH CLAIM FOR RELIEF

2 Dangerous Condition of Public Property (Gov’t Code §835)

3 (Against All Defendants)

4 77. Plaintiff incorporates herein the allegations of paragraphs 1 through 76,

° above, as though fully set forth.

7 78. The County of Los Angeles public property, Sylmar Juvenile Hall, was in

a dangerous condition in that there was insufficient protection provided to the minor
40 || inmates from harm proximately caused by, but not limited to: (1) inadequate staff-to-
inmate ratio; (2) insufficient training of staff in behavior management and violence
43 || reduction techniques; (3) insufficient training of staff in recognition and response to
14 || sang dynamics and gang violence; and (4) insufficient training of staff in performance
. of emergency first aid.
17 79. Defendant COUNTY acting through its agencies, departments,
i management, employees and/or agents had a duty to provide an environment free from
90 || dangerous conditions created by the public entity for the benefit of the minor inmates at
21 Sylmar Juvenile Hall.
22
23 80. Defendant COUNTY, WALKER, MARTINEZ, RUBKE, and DOES 1 to
24 || 10, had actual and constructive notice of the dangerous conditions of public property,
a and that those conditions presented the risk of serious harm to Plaintiff. Despite having
97 ||knowledge, Defendants failed to take reasonable measures to abate these risks of harm.
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The dangerous conditions have existed, and continue to exist at Sylmar Juvenile Hall
and other COUNTY Juvenile Detention Centers as evidenced by reports to the
COUNTY as a result of Federal Department of Justice investigation, prior claims, and
prior lawsuits, placing Defendant COUNTY, and relevant departments and personnel,
on notice of the dangerous conditions which caused Plaintiffs injuries for a sufficient

time prior to Plaintiff's injury to have taken measures to protect against the dangerous

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81. Defendants breached their duty to Plaintiff by creating and allowing the

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above described dangerous conditions to exist, and those conditions were the proximate

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and legal cause of Plaintiff's injuries. There was an inadequate staff-to-inmate ratio at

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the time Plaintiff was injured, and he was attacked by multiple inmates with an

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insufficient number of staff reacting to the attack. The staff at Sylmar failed to

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recognize the threat of harm to Plaintiff even after he complained of the threats, and this

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failure to recognize and respond properly to the threats of harm to Plaintiff proximately

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caused and/or contributed to his injuries.

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82. Asa result of the injuries sustained by Plaintiff, he is entitled to general

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and special damages according to proof at the time of trial.

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COMPLAINT FOR DAMAGES

 

 

 
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SEVENTH CLAIM FOR RELIEF
(Violation of State Civil Rights — Against All Defendants)

83. Plaintiff incorporates herein the allegations of paragraphs 1 through 82,
above, as though fully set forth.

84. All Defendants, including DOES 1 to 10, are individuals who were acting
under color of law in maintaining and supervising the facilities of the COUNTY for the
incarceration of juvenile offenders, including Sylmar Juvenile Hall. Defendant
COUNTY is vicariously liable for these Defendants’ conduct under Government Code
Section 815.2.

85. Asaresult of the conduct of said Defendants, and each of them, as adopted
and incorporated by paragraphs previously set forth, Defendants violated Plaintiff's
personal and civil rights, including the right of protection from personal and physical
insult and violation, as set forth in California Civil Code Section 43, including, but not
limited to, failing to protect Plaintiff from known risk of harm created by and known by
Defendants.

86. The acts of Defendants previously alleged in this Complaint and
incorporated herein to the extent applicable, interfered, or attempted to interfere with
the exercise of Plaintiffs personal and civil rights under the laws and Constitution of

the State of California, including the Plaintiff's rights under Civil Code Section 43.

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87. Asa direct and proximate result of the aforementioned conduct of
Defendants, and each of them, Plaintiff has suffered and will continue to suffer
damages, including but not limited to, serious physical injury, great emotional and
psychological distress, humiliation and mental anguish.

88. These violations of the Plaintiff's personal and civil rights by Defendants,
and DOES 1 to 10, are protected and guaranteed by California Civil Code Section 52.1
entitling Plaintiff to damages and relief, including damages under California Civil Code
Section 52, other equitable relief, punitive damages, statutory civil penalty (including
$25,000 as to each individual Defendant) and attorney’s fees (pursuant to Civil Code
Section 52.1(h)), all of which are requested herein.

89. In doing the acts alleged in this Complaint, Defendants knew or should
have known, that their actions were likely to injure and damage Plaintiff. Plaintiff is
informed and believes, and thereon alleges, that the individual Defendants intended to
cause him injury and damage, and/or acted with willful and conscious disregard of
Plaintiff's rights, thus entitling Plaintiff to recover punitive damages as against said
individual Defendants.

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4 WHEREFORE, plaintiff prays for judgment against defendants, and each of them, as
2 || follows:
3 1. For general damages according to proof;
4
5 2. For special damages according to proof;
6 3. For exemplary damages as against those individual defendants in an amount
7 sufficient to deter and to make an example of those defendants;
8
9 4, For costs of suit and reasonable attorneys fees pursuant to 42 U.S.C. §1988 on
10 Plaintiff's federal claims; and reasonable attorneys fee pursuant to Civil Code
"1 Section 52.1 (h) under Plaintiff's Sixth Claim for Relief.
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13 5. For such other and further relief as the Court may deem just and proper.
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15 || DATED: August 19, 2014 LAW OFFICES OF VICKI I. SARMIENTO
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VICKI I. SARMIENTO
19 Attorney for Plaintiff
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DEMAND FOR JURY TRIAL

Plaintiff J.M.M., a minor by and through his Guardian Ad Litem, ORLANDA CRUZ
hereby formally demands a trial by jury.

DATED: August 19, 2014 LAW OFFICES OF VICKI I. SARMIENTO

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VICKI I. SARMIENTO
Attorney for Plaintiff

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